                 Case 1:07-cr-00272-LJO Document 111 Filed 10/12/10 Page 1 of 2


 1   ROBERT W. RAINWATER, CA. Bar No. 67212
     Rainwater Law Group
 2   Designated Counsel for Service
     1430 Willamette Street, Suite 492
 3   Eugene, Oregon 97401-4049
     Telephone: (541) 854-0357
 4
     Counsel for Defendant
 5   LARRY DONNELL JONES
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        )    NO. 1:07-CR-00272 LJO
                                                      )
12                          Plaintiff,                )
                                                      )    STIPULATION TO CONTINUE
13          v.                                        )    SENTENCING HEARING, AND ORDER
                                                      )    THEREON
14   LARRY DONNELL JONES,                             )
     CHRISTINA MICHELLE DAVIS, and                    )
15   ANTONIO LAMAR PRATT                              )    Date: December10, 2010
                                                      )    Time: 9:00 a.m.
16                          Defendants.               )    Judge: Honorable Lawrence J. O’Neill
                                                      )
17
18
19                                                  STIPULATION
20          It is hereby stipulated by and between the parties hereto that the hearing on the sentencing in the
21   above entitled matter, as to defendant Larry Donnell Jones only, previously set for October 15, 2010 at
22   9:00 a.m., be continued to December 10, 2010, at 9:00 a.m.
23          The reason for this continuance is to allow counsel for defendant and the defendant time for further
24   preparation for the sentencing hearing. Mr. Jones’s sentencing has been previously continued to follow
25   his co-defendant’s case. The government has now indicated it is ready to proceed on Mr. Jones’s case
26   independent of his co-defendant’s case. Mr. Jones lives in Alaska and must pay for his transportation to
27   court. He is requesting the additional time to make his travel arrangements. This would give him time to
28   save funds for this purpose and to obtain the cheapest possible flight. It is both parties best estimate, at this
                Case 1:07-cr-00272-LJO Document 111 Filed 10/12/10 Page 2 of 2


 1   time, that a hearing on December 10, 2010 would proceed as scheduled and that Mr. Jones would be
 2   sentenced at that time.
 3
                                                                    BENJAMIN B. WAGNER
 4                                                                  United States Attorney
 5
 6
     DATED: October 12, 2010                                By:     /s/ Mark J. McKeon
 7                                                                  MARK J. MCKEON
                                                                    Assistant U.S. Attorney
 8                                                                  Attorney for Plaintiff
 9
10
     DATED: October 12, 2010                                By:    /s/ Robert W. Rainwater
11                                                                 ROBERT W. RAINWATER
                                                                   Assistant Federal Defender
12                                                                 Attorney for Defendant
                                                                   Larry Donnell Jones
13
14
                                                        ORDER
15
              For the reasons stated above, the court finds that the ends of justice are served by the continuance
16
     of the sentencing hearing as requested. This pertains to defendant LARRY DONNELL JONES only.
17
18
     IT IS SO ORDERED.
19
     Dated:      October 12, 2010                       /s/ Lawrence J. O'Neill
20   b9ed48                                         UNITED STATES DISTRICT JUDGE
21
22
23
24
25
26
27
28


     Jones Stip. to Continue Sentencing and Order           2
